                            Case 5:18-md-02834-BLF Document 331 Filed 12/28/18 Page 1 of 7


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                                                                     GMBH and Yotpo, Ltd.
                 10 Attorneys for PersonalWeb Technologies, LLC
                       and Level 3 Communications LLC
                 11 [Additional Attorneys listed below]
                 12                                 UNITED STATES DISTRICT COURT

                 13                                NORTHERN DISTRICT OF CALIFORNIA

                 14                                         SAN JOSE DIVISION

                 15    IN RE PERSONALWEB TECHNOLOGIES,                CASE NO.: 5:18-md-02834-BLF
                       LLC, ET AL., PATENT LITIGATION
                 16
                       _______________________________________
                 17                                                   Case No.: 5:18-cv-03453-BLF
                       PERSONALWEB TECHNOLOGIES, LLC,
                 18    ET AL.,                                        JOINT STIPULATION AND [PROPOSED]
                                                                      ORDER TO EXTEND TIME TO SERVE
                 19                  Plaintiffs,                      FOREIGN DEFENDANTS LESSON NINE
                       v.                                             GMBH AND YOTPO LTD
                 20
                       LESSON NINE GMBH, a Germany limited
                 21    liability company,
                 22                  Defendant.
                 23
                       PERSONALWEB TECHNOLOGIES, LLC,                 Case No.: 5:18-cv-03453-BLF
                 24    ET AL.,

                 25                  Plaintiffs,

                 26    v.

                 27    YOTPO LTD., an Israel corporation,
                 28                  Defendant.


                       STIPULATION TO EXTEND TIME                                  CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                                 CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                               CASE NO. 5:18-CV-03452-BLF
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                   1           Plaintiffs PersonalWeb Technologies, LLC and Level 3 Communications, LLC’s (collectively,

                   2 “PersonalWeb”) and specially appearing defendants Lesson Nine GmbH (“Lesson Nine”), a German
                   3 corporation, and Yotpo, Ltd. (“Yotpo”), an Israeli corporation, (collectively, the “Unserved
                   4 Defendants”)1 by and through their attorneys of record, hereby submit this joint stipulation requesting
                   5 that this Court extend the date to complete service on the Unserved Defendants under the Hague
                   6 Convention from January 2, 2019 to April 2, 2019.
                   7                                                     RECITALS

                   8           1.       On November 9, 2018, this Court issued an Order Granting Motion for Leave to Extend

                   9 Deadline to Effect Service of Process dated November 9, 2018 (Docket (“Dkt.”) 305; the “November
                 10 9, 2018 Order”), whereby PersonalWeb was to complete service by January 2, 2019, and that
                 11 PersonalWeb shall request any necessary extension of time to serve the foreign defendants in
                 12 accordance with the Hague Convention before January 2, 2019. (Dkt. 305, p. 3:5-7.)
                 13            2.       On November 14, 2018, the Court issued a Summons for the Second Amended

                 14 Complaint (“SAC”) on Lesson Nine. (Dkt. 30.)
                 15            3.       On November 26, 2018, PersonalWeb sent via FedEx a Request for Service Abroad of

                 16 Judicial or Extrajudicial Documents for service via the Hague Convention, with all SAC service
                 17 documents translated into German. This was sent to the Central Authority in Germany for service of
                 18 process under the Hague Convention. Confirmation has been made that said agent received these
                 19 documents on November 28, 2018.
                 20            4.       As of the date of this Stipulation PersonalWeb has received no further response

                 21 regarding the service of Lesson Nine.
                 22            5.       On November 11, 2018, the Court issued a Summons on the SAC against Yotpo. (Dkt.

                 23 25.)
                 24            6.       On November 16, 2018, PersonalWeb sent a Request for Service Abroad of Judicial or

                 25 Extrajudicial Documents for service of Summons and Second Amended Complaint via the Hague
                 26
                 27
                       1
                         Lesson Nine and Yotpo specially appear for PersonalWeb’s administrative convenience in seeking the requested
                 28    extension, and expressly reserve their defenses, including their right to challenge personal jurisdiction.

                                                                                1
                       STIPULATION TO EXTEND TIME                                                     CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                                                    CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                                                  CASE NO. 5:18-CV-03452-BLF
                           Case 5:18-md-02834-BLF Document 331 Filed 12/28/18 Page 3 of 7


                   1 Convention. This was sent to the Central Authority in Israel for service of process under the Hague
                   2 Convention. Confirmation has been made that said agent received these documents on November 28,
                   3 2018.
                   4         7.      As of the date of this motion PersonalWeb has received no further response regarding

                   5 the service of Yotpo.
                   6         8.      PersonalWeb is awaiting service to be made by the Central Authorities in Germany and

                   7 Israel to serve the Unserved Defendants under the Hague Convention.
                   8         NOW THEREFORE, PersonalWeb and the Unserved Defendants hereby stipulate and agree

                   9 that PersonalWeb shall have until April 2, 2019 to serve the Unserved Defendants under the Hague
                 10 Convention.
                 11                                       Respectfully submitted,

                 12 Dated: December 28, 2018                      STUBBS, ALDERTON & MARKILES, LLP

                 13
                 14                                               By: /s/ Jeffrey F. Gersh
                                                                          Jeffrey F. Gersh
                 15                                                       Michael A. Sherman
                                                                          Sandeep Seth
                 16                                                       Wesley W. Monroe
                                                                          Stanley H. Thompson, Jr.
                 17                                                       Viviana Boero Hedrick
                                                                          Attorneys for PersonalWeb Technologies, LLC
                 18                                                       and Level 3 Communications, LLC

                 19 Dated: December 28, 2018                      MACEIKO IP

                 20
                 21                                               By: /s/ Theodore S. Maceiko
                                                                          Theodore S. Maceiko (SBN 150211)
                 22                                                       ted@maceikoip.com
                                                                          MACEIKO IP
                 23                                                       420 2nd Street
                                                                          Manhattan Beach, California 90266
                 24                                                       Telephone:     (310) 545-3311
                                                                          Facsimile:     (310) 545-3344
                 25                                                       Attorneys for Plaintiff
                                                                          PERSONALWEB TECHNOLOGIES, LLC,
                 26
                 27
                 28
                                                                       2
                       STIPULATION TO EXTEND TIME                                        CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                                       CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                                     CASE NO. 5:18-CV-03452-BLF
                           Case 5:18-md-02834-BLF Document 331 Filed 12/28/18 Page 4 of 7


                   1 Dated: December 28, 2018                     DAVID D. WIER

                   2
                   3                                              By: /s/ David D. Wier
                                                                          David D. Wier
                   4                                                      david.wier@level3.com
                                                                          Vice President and Assistant General Counsel
                   5                                                      Level 3 Communications, LLC
                                                                          1025 Eldorado Boulevard
                   6                                                      Broomfield, CO 80021
                                                                          Telephone: (720) 888-3539
                   7                                                      Attorneys for Plaintiff
                                                                          LEVEL 3 COMMUNICATIONS, LLC
                   8
                   9 Dated: December 28, 2018                     FENWICK & WEST, LLP
                 10
                                                                  By: /s/ Todd R. Gregorian
                 11                                                       Todd R. Gregorian
                                                                          Attorney for Defendants LESSON NINE
                 12                                                       GMBH and YOPTO, LTD
                 13
                 14                                           ATTESTATION
                 15          The undersigned attests that concurrence in the filing of the forgoing document was obtained
                 16 from all of its signatories.
                 17 Dated: December 28, 2018                         STUBBS, ALDERTON & MARKILES, LLP
                 18
                 19                                               By: /s/ Jeffrey F. Gersh
                                                                          Jeffrey F. Gersh
                 20
                 21 PURSUANT TO STIPULATION, IT IS SO ORDERED.
                 22
                 23 Date: ________________________                                                                    __
                                                                          Honorable Beth Labson Freeman
                 24                                                       United States District Judge
                 25
                 26
                 27
                 28
                                                                      3
                       STIPULATION TO EXTEND TIME                                        CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                                       CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                                     CASE NO. 5:18-CV-03452-BLF
                          Case 5:18-md-02834-BLF Document 331 Filed 12/28/18 Page 5 of 7


                   1                                 PROOF OF SERVICE
                   2        I declare as follows:
                   3       I am employed in the County of Los Angeles, State of California. I am over the
                     age of 18 and not a party to the within action. My business address is 15260 Ventura
                   4
                     Blvd., 20th Floor, Sherman Oaks, California 91403. On December 28, 2018, I served
                   5 the documents described as: JOINT STIPULATION AND [PROPOSED] ORDER TO
                       EXTEND TIME TO SERVE FOREIGN DEFENDANTS LESSON NINE GMBH AND
                  6 YOTPO LTD on the interested parties in this action as follows:
                  7
                           TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC
                  8
                           FILING (“NEF”) pursuant to FRCP, Rule 5(b)(2)(E) and JPML Rule
                  9        4.1 (Pursuant to controlling General Order(s) and Local Rule(s) (“LR”),
                           the foregoing document will be served by the court via NEF and hyperlink
                 10
                           to the document to counsel at the email address(s) listed on Case Docket
                 11        5:18-md-02834-BLF).
                 12
                               BY U.S. MAIL: (SEE ATTACHED SERVICE LIST) By depositing for
                 13            collection and mailing in the ordinary course of business. I am “readily
                               familiar” with the firm’s practice of collection and processing
                 14
                               correspondence for mailing. Under that practice it would be deposited
                 15            with U.S. Postal Service on the same day with postage thereon fully
                               prepaid at Sherman Oaks, California in the ordinary course of business. I
                 16
                               am aware that on motion of the party served, service is presumed invalid if
                 17            postal cancellation date or postage meter date is more than one day after
                               date of deposit for mailing on affidavit.
                 18
                 19       I declare that I am employed in the office of a member of the bar of this court at
                    whose direction the service was made. I declare under penalty of perjury under the
                 20 laws of the United States of America that the above is true and correct.
                 21
                          Executed on December 28, 2018, at Sherman Oaks, California.
                 22
                 23                                       /s/ Elizabeth Saal de Casas
                                                          ELIZABETH SAAL DE CASAS
                 24
                 25
                 26
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                                                                4
                       STIPULATION TO EXTEND TIME                               CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                              CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                            CASE NO. 5:18-CV-03452-BLF
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                   1                                          SERVICE LIST
                                        In Re: PersonalWeb Technologies, LLC Case No.: 5:18-md-02834-BLF
                   2          PersonalWeb Technologies, LLC et al., v. Lesson Nine GMBH Case No.: 5:18-cv-03453-BLF
                                 PersonalWeb Technologies, LLC et al.v. Yotpo, Ltd. Case No.: 5:18-cv-03453-BLF
                   3
                       AMICUS FTW, INC.                                 NDCA Case No. 5:18-cv-00150-BLF
                   4   The Corporation Trust Company                    Agent for Service of Process for Amicus FTW,
                                                                        Inc.
                   5   Corporation Trust Center
                                                                        By U.S. Mail
                       1209 Orange St.
                   6   Wilmington, DE 19801
                   7
                       BUZZFEED, INC.                                   NDCA Case No. 5:18-cv-06046-BLF
                   8   c/o CSC                                          Agent for Service of Process on behalf of
                                                                        BuzzFeed, Inc.
                   9   80 State Street
                                                                        Via U.S. Mail
                       Albany, NY 12207
                 10
                 11                                                     NDCA Case No. 5:18-cv-05611-BLF
                       INTUIT, INC.
                 12    c/o Becky DeGeorge                               Agent for Service of Process on behalf of Intuit,
                                                                        Inc.
                       CSC LAWYERS INCORPORATING
                 13                                                     Via U.S. Mail
                       SERVICE
                 14    2710 Gateway Oaks Drive, Suite 150N
                       Sacramento, CA 95833
                 15
                 16
                       MWM MY WEDDING MATCH LTD.                        NDCA Case No. 5:18-cv-03457-BLF
                 17                                                     Unrepresented Party
                       c/o Angel Pui, CEO
                 18    609 Hastings St. W 11th Floor                    Last known address
                       Vancouver                                        Via U.S. Mail
                 19
                       British Columbia
                 20    V6B4W4
                 21
                       OATH, INC.                                       NDCA Case No. 5:18-cv-06044-BLF
                 22    c/o CT CORPORATION SYSTEM                        Agent for Service of Process on behalf of
                       111 Eighth Avenue, 13th Fl                       Oath, Inc.
                 23
                       New York, NY 10011                               Via U.S. Mail
                 24
                 25
                 26
                 27
                 28
                                                                       5
                       STIPULATION TO EXTEND TIME                                          CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                                         CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                                       CASE NO. 5:18-CV-03452-BLF
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                   1   RETAILMENOT, INC.                     NDCA Case No. 5:18-cv-05966
                       c/o Amy McLaren, Authorized Agent     Agent for Service of Process on behalf
                   2
                       Corporation Trust Company             of RetailMeNot, Inc.
                   3   Corporation Trust Center              Via U.S. Mail
                   4   1209 Orange Street
                       Wilmington, DE 19801
                   5
                       ROCKETHUB, INC.                       NDCA Case No. 5:18-cv-03583-BLF
                   6
                       c/o Secretary of State, Authorized    Authorized Agent for Service of Process
                   7   Agent                                 on behalf of Rockethub, Inc.
                       99 Washington Avenue                  Via U.S. Mail
                   8
                       Albany, NY 12207
                   9   ELEQT GROUP LTD.                      NDCA Case No. 5:18-cv-03583-BLF
                       34 Queen Anne Street                  Unrepresented Party Last known address
                 10
                       London, W1G 8HG                       Via U.S. Mail
                 11    United Kingdom
                 12
                       STACK EXCHANGE, INC.                  NDCA Case No. 5:18-cv-06045-BLF
                 13    c/o CSC                               Agent for Service of Process on behalf of
                 14    80 State Street                       Stack Exchange, Inc.
                       Albany, NY 12207                      Via U.S. Mail
                 15
                 16    UPWORK GLOBAL, INC.                   NDCA Case No. 5:18-cv-05624-BLF
                       c/o Trisha Rosano                     Authorized Agent to Accept Service on
                 17    REGISTERED AGENT SOLUTIONS,           behalf of UpWork Global, Inc.
                 18    INC.                                  Via U.S. Mail
                       1220 S. Street, Suite 150
                 19    Sacramento, CA 95811
                 20    ZIFF DAVIS, LLC                       SDNY Case No. 1:18-cv-10027-DLC-
                       c/o Corporation Service Company       SDA
                 21    80 State Street                       Agent for Service of Process for Ziff
                 22    Albany, NY 12207-2543                 Davis, LLC
                                                             Via U.S. Mail
                 23
                       ZOOM VIDEO COMMUNICATIONS,            NDCA Case No. 5:18-cv-05625-BLF
                 24    INC.                                  Agent authorized to accept service on behalf
                                                             of Zoom Video Communications, Inc.
                 25    c/o Mason Tse
                                                             Via U.S. Mail
                       Authorized Agent to Accept Service
                 26
                       55 S. Almaden Boulevard, Suite 600
                 27    San Jose, CA 95113
                 28
                                                            6
                       STIPULATION TO EXTEND TIME                             CASE NO. 5:18-MD-02834-BLF
                       TO SERVE FOREIGN DEFENDANTS                            CASE NO. 5:18-CV-03453-BLF
4837-8292-2884, V. 1                                                          CASE NO. 5:18-CV-03452-BLF
